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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


RAGHAVENDRA VIJAYANAGAR                 :
                                        :
      Plaintiff                         :     CIVIL ACTION NO.
                                        :     3:18-CV-00553-VLB
v.                                      :
                                        :
JAYARAMAN KRISHNA, a/k/a                :
JAYARMAN KRISHNAN, a/k/a                :
KRISHNA JAYARAMAN, a/k/a                :
KRISHNAN JAYARAMAN                      :
                                        :
      Defendant                         :     MAY 25, 2018


                      ANSWER AND AFFIRMATIVE DEFENSES

      Defendant Jayaraman Krishna (“Mr. Krishna”), through his undersigned

counsel, answers the Complaint of Plaintiff Raghavendra Vijayanagar (“Dr.

Vijayanagar”) as follows:

                                    JURISDICTION

      1.       Mr. Krishna lacks knowledge or information to form a belief as to the

truth of the allegations in this paragraph.

      2.       Mr. Krishna admits that he resides at 1769 Oenoke Ridge, New

Canaan, Connecticut, but denies all other allegations in this paragraph.

      3.       The allegation contained in this paragraph is a conclusion of law to

which no response is required and to the extent any further response is required,

Mr. Krishna lacks knowledge or information sufficient to form a belief as to the

truth of the allegation contained in this paragraph.
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      4.       Mr. Krishna admits that Dr. Vijayanagar is seeking more than

$75,000.00, but denies that he has been damaged by Mr. Krishna or that he is

entitled to recover damages from Mr. Krishna.


                              FACTUAL ALLEGATIONS

      5.       Denied.

      6.       Mr. Krishna admits, on information and belief, that Prameya Energy

Pte. Ltd. and Prameya Worldwide Pte., Ltd. are private companies organized

under Singapore law.       Mr. Krishna denies that these companies are owned,

controlled and/or managed by Mr. Krishna.

      7.       Mr. Krishna lacks knowledge or information to form a belief as to the

truth of the allegations in this paragraph.


                                    COUNT ONE

      8.       Admitted.

      9.       Denied.

      10.      Denied.

      11.      Denied.

      12.      Denied.

      13.      Denied.

      14.      Denied.

      15.      Denied.

      16.      Denied.




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      17.    Mr. Krishna denies that he solicited Dr. Vijayanagar’s investment or

received funds from Dr. Vijayanagar and, therefore, denies each allegation of this

paragraph.


      18.    Denied.

      19.    Denied.

      20.    Denied.

                                   COUNT TWO

      21.    Mr. Krishna incorporates the answers to the allegations of

paragraphs 1-20 above as if fully set forth herein.


      22.    Denied.

                                  COUNT THREE

      23.    Mr. Krishna incorporates the answers to the allegations of

paragraphs 1-22 above as if fully set forth herein.

      24.    Denied.

      26. (sic) Denied.

      27.    Denied.




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                             AFFIRMATIVE DEFENSES

                         First Affirmative Defense - Waiver

      Dr. Vijayanagar’s claims are barred, in whole or in part, by the doctrine of

waiver.


           Second Affirmative Defense - Failure to State a Cause of Action

      Each Count of the Complaint fails to state a claim upon which relief can be

granted.    Moreover, Dr. Vijayanagar has failed to state causes of action for

conversion or unjust enrichment as he has failed to allege that any money or

property were sent to and received by Mr. Krishna and has failed to allege any

facts to show that Mr. Krishna retained and benefited from money transferred by

Dr. Vijayanagar.


                   Third Affirmative Defense – Assumption of Risk

      Dr. Vijayanagar assumed the risk of his investment in Prameya.


           Fourth Affirmative Defense – Failure to Plead with Particularity

      Dr. Vijayanagar has failed to plead with particularity those elements of his

claims that are subject to Federal Rule of Civil Procedure 9(b).


          Fifth Affirmative Defense – Acts and Omissions of Dr. Vijayanagar

      Any damages incurred by Dr. Vijayanagar were caused in whole or in part

by his own actions or omissions, or the actions and omissions of third parties.




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                                      Reservation

      Mr. Krishna reserves the right to assert additional affirmative defenses as

they become apparent during the course of discovery of this matter.



      WHEREFORE, having fully answered, Defendant Jayaraman Krishna

requests that the Court enter judgment in his favor and against Plaintiff, and

provide all other relief the Court deems appropriate in the circumstances.



                                            DEFENDANT,
                                            JAYAMARAN KRISHNA


                                      By:   /s/ Ari J. Hoffman
                                            Ari J. Hoffman, Esq.
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                            CERTIFICATION OF SERVICE


      I hereby certify that on May 25, 2018, a copy of the foregoing Answer and

Affirmative Defenses was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the court’s CM/ECF System.




                                         /s/ Ari J. Hoffman
                                             Ari J. Hoffman




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